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                                                                  U S. OISTRJC'^'       -Y.


UNITED STATES DISTRICT COURT
                                                                   't r.;
EASTERN DISTRICT OF NEW YORK
                                                       -X
MICHELLE HENRY,

                      Plaintiff,                                    NOTICE OF
                                                                    LIMITED APPEARANCE
        -against -                                                  OF PRO BONO COUNSEL


 CAPITAL ONE,N.A,
                                                                    21-CV-2281 (BMC)(PK)
                      Defendant.


                                                        -X


To the Clerk ofthis Court and all parties ofrecord:

        Enter my appearance as pro bono counsel in this case on behalf of:

MICHELLE HENRY for the limited purposes ofsettlement. I am a Staff Attorney with the City

Bar Justice Center's Federal Pro Se Legal Assistance Project and certify that I am admitted to

practice in the State of New York and the U.S. District Court for the Eastern District of New

York.




Brooklyn, New York
February 28,2024
                                                      Judith M. Whiting(JW-8665)
                                                      Staff Attorney
                                                      Federal Pro Se Legal Assistance Project
                                                      City Bar Justice Center
                                                      42 West 44^ Street
                                                      New York,New York 10036
